Case 3:17-cv-00072-NKM-JCH Document 209 Filed 01/30/18 Page 1 of 23 Pageid#: 1068




   UnitedStatesDistrictCourtForTheWesterhDistricto!LV
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                                                         ingi
                                                            na-
                                                             csusDjsxe. -
   Charlottesville D ivision                                         ATc< o% iMœ,vA .
                                                                                FILED

   Case No.3:17-cv-00072-NKM                                              JAN 32 2218
                                                                     JU     cD n        r.lppe!
   Hon.Norm an K.M oon                                              BY;                         j.
                                                                                            ).(
                                                                                        .
                                                                                            .




   Elizabeth Sines,etal.
   Plainttà
   V.

   Jason Kessler,etaI.
   Defendants


   M em orandum In S upport of M otion to
   D isl iss O f D efendant R ichard S ppncer                               .
                                                                                   '




         DefendantRichard Spencer,Pro Se,subm itsthism em orandum in supportof

   hismotiontodismissPlaintiffscomplaintpursuanttoFed.R.Civ.P.12(b)(6).


   FactualAccusations As To Richard Spencer

         The com plaintcontainsno plausible allegationsthatRichard Spencerdid

   anything unlaw fulor engaged in any behaviororactivity thatisnotfully protected

   by thçFirstand Second A m endm entsto theUnited StatesConstitution.

         The essence ofthe com plaintisa itconspiracy theory''in the true sense ofthe



                                           1
    Case 3:17-cv-00072-NKM-JCH Document 209 Filed 01/30/18 Page 2 of 23 Pageid#: 1069




       yvord:


             The eventsofAugust11 and 12- now com m only referred to sim ply as
             tçcharlottesvillen- FerepartofDefendants'coordinated campaign to intim idate,harass,
             incite,and causeviolenceto peoplebased on theirrace,religion,ethnicity,and sexual
             orientation in violationnotonly ofthe valuesthatthousandsofAm erican soldiershave
             diedfor,butalsonumerousstateandfederallaws.(j6,p.3)                                    '
             The rally w as,in the Plaintiffs'telling,notreally a rally,buta ruse,plarm ed

       in orderto prom oteharassm entand assaultsagain-jtcitizensbased on race and                      '

       etlmicity.(Thewordççrally''is,infact,treated with tçscarequotes''throughoutthe
.
       complaint.)
             Below are the scattered and conclusory allegations thatinvolve Spencer

       (repetitiveclaim sareom ittedforreadability).M any ofthem did notoccur,and
       noneofthem isacrim e;thePlaintiffs'case isbased on the assllm ption and

       attachm entofsinisterm otivesand plansw ithin plans.Even ifthe Courtwereto

       accepteach and every claim hasfactually true,theCase should be dism issed w ith

       regard to R ichard Spencer.



'
             jN40,p.17:Spencerwroteaphilosophicalessay entitledçtrl-heCharlottesville
       Statem ent,''in w hich he outlined hispoliticaland socialbeliefs.

             j49,p.19:SpencerinvitedpeopletoattendtheUniteTheRightrally.

             j52,p.20:ln M ay of2017,Spencerorganized and participatedin arally in



                                                   2
Case 3:17-cv-00072-NKM-JCH Document 209 Filed 01/30/18 Page 3 of 23 Pageid#: 1070




   which he said,GGW hatbringsustogetheristhatwe are white,we areapeople.W e

   w illnotbe replaced.''

         j64,p.24:SpencerhaddrilzkswithEvan M cLaren attheTrumpHotelin
   W ashington,SC,w here they discussed the upcom ing Charlottesville event.

         578,p.28:A participanttknownas<çcaenllusRex'')in aan onlineforum

   (Discord)intendedfordiscussion oftheUniteTheRighteven hasbeen afrequent
   bodyguard ofSpencer.

         585,p.29:ln anessay,Spencercriticizedtheterm ççludeo-clzristian values''
   and claim ed thatracially and ethically hom ogenousnation-states are lçlegitim ate

   and necessary.''

         587,p.30:AltRightcom,aW ebsiteowned andoperatedby Spencer,
   published a boastthatSpencer's ideas tsdom inate the Internet''and m ightsoon be

   equally persuasive in the realw orld.The site also stated itsopposition to the U .S.

   politicalestablishm ent.

         j92,p.32:Spencer'swebsitepublishedaboastthattheW ebsiteTheDaily
   Stormerw illconvince m any people to attend the U nite The Rightrally.

         j108,p.36:Anotherparty (nota'defendant)claim edthatSpenceragreed
   w ith theassertionsthatattendeesshould bring bodily protection and weapons

   within theconfinesofthelaw softhe United Statesand the Comm onw ealth of



                                             3
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    Case 3:17-cv-00072-NKM-JCH Document 209 Filed 01/30/18 Page 4 of 23 Pageid#: 1071




         V irginia.

                   jl20,p.43:Spencerasked forhelp from attorneysonhiswebsite.

                   j141,p.48-49:On thesocialnetwork websiteTwitter,Spencerposted a

         photograph ofarestaurantthatfeatured aflyercriticaloftheUniteTheRightrally.

                   j143,p.50:Spencerco-organizedtheAugust11,2017,torchlight
         procession tlzrough TheLawn on theUniversity ofVirginia'scnm pus.

                   j149,p.51:SpencerandDefendantsillegally carried and encouragedothers

         tocany open flam esontheUniversity ofVirginia'scampus(inthiscase,
         Citronella-basedTikiTorches).
                   j153,p.52:SpencertippedoffareporterthatheshouldbenearNnmeless
         '                                 '
,


         Field on the nightofA ugust 11,in orderto reporton the torchlightprocession. .

                   j158,p.53:SpencerandDefendantsdeliberately walkedthroughthe
         culturalcenter ofthe U niversity ofV irginia's cam pus,The Law n,in orderto scare
     .       )                                                .                      .
         Peopje.

                   j164,p.54:Spencerandhundredsofotherschargedtowardsagroup of
         counter-protestors assem bled around a statue ofThom as Jefferson in orderto scare

         yetm ore people.

                   j175,p.57:Duringthemarch,Spencerm aderecourseto suchheated
             language as:&W e ow n these streetsl''



                                                      4
Case 3:17-cv-00072-NKM-JCH Document 209 Filed 01/30/18 Page 5 of 23 Pageid#: 1072




         j184,p.59:Spencerretweetedatweetby DefendantJason Kesslerthatread,
   tllncrediblem om entforwhite peoplewho've had itup to here & aren'tgoing to

   takeitanym ore.Tom orrow we #u nite-lnheRight#chaflottesville.''

         5229,p.73:An altercation occurred atapark atwhich Spencerand
   D efendantPeinovich assem bled after the rally w as ended by the police.

         5230,p.73:Spencercalled counter-protestorsantmkindname(ûçsavages'').
         j260,p.81:At12:30PM onAugust12,Spencertweeted,<&M y
   recomm endation:D isperse.GetoutofCharlottesvillecity lim its.State of

   em ergency hasbeen called.''

         j273,p.86:SpencertoldtheNew York TimesthatUniteTheRightwasa
   tthuge m oralvictory.''

         j297,p.94:Spenceramzounced thathewillreturntoCharlottesvillefor
   m ore activism and politicaldem onstrations.

         j312,313,314,pp.97-98:TheDefendantsformedaconspiracytoincite
   racialand religiousharassm entand violence.Spencerm etwith Evan M cLaren

   privately foryetm ore conspiring.

         5327,p.99:Spencerwasfeatured in aprom otionalflyerforUniteThe
   R ight.

         j333,p.100:SpencerEldirected''actsofviolence,whateverthatm ightmean:



                                            5
Case 3:17-cv-00072-NKM-JCH Document 209 Filed 01/30/18 Page 6 of 23 Pageid#: 1073




   Argum ent

   1.Law fare And The FirstAm endm ent


         This law suitis an exnm ple ofw hathas com e to be know n as ttlaw fare,''that

   is,an attem ptto usethe legalsystem to intim idate,silence,financially dam age,or

   generally harass defendants- often forpoliticalorpersonalm otives.A s such,itis

   an affronttothisCourtandtheidealofjusticeunderlaw.
         TlzreerecentSuprem eCourtcasesdem onstratewhy this complaintshould

   bedismissed:BellAtlanticv.Twombly,550U.S.544 (2007),Ashcro? v.Iqbal,
   556U.S.662 (2009),andSnyderv.Phelps,562U.S.443(2011).

         The Courtin Iqbalsumm arized thenew pleading standard ithad earlier

   adopted in Twombly.
                     .


         A sthe Courtheld in Tw om bly,550 U .S.544,the pleading standard'Rule 8 nnnotm ces
         doesnotrequire''detailed facmalallegations,''butitdemandsm orethan an unadom ed,
         le-defendant-unlae lly-ha= ed-m eaccusation.1d.,at555 ....A pleadingthatoffers
         ''labels and conclusions''or ''a form ulaic recitation ofthe elem entsofa cause ofaction
         w illnotdo.''550 U .S.,at555.N ordoes a com plaintsuffice ifittenders ''naked
         assertionlsq'devoidof'furtherfactualenhancement''f#,at557.Tosurviveamotionto
         dism iss,a com plaintm ustcontain sufficientfactpalm atter,accepted astrue,to ''state a
         claim to reliefthatisplausibleon itsface.''14 at570.A claim hasfacialplausibility
         when theplaintiffpleadsfacttlalcontentthatallowsthecourtto draw thereasonable
         inferencethatthedefendantisliableforthemisconductalleged.14 at556.The

                                                 6
    Case 3:17-cv-00072-NKM-JCH Document 209 Filed 01/30/18 Page 7 of 23 Pageid#: 1074
*                           '
                            .                                               f''-




               plausibility standard ...itasksform orethan a sheerpossibilitythatadefehdanthas
               actedunlawfully.Ibié W hereacomplaintpleadsfactsthatal'e''merelyconsistentwith''a
               defendant'sliability,it''stopsshprtofthe linebetween possibility andplausibility of
               'entitlementtorelief-'''1é,at557(bracketsomitted).(Iqbal,556U.S.at665.)
               A nd further:


               Two worldngprinciplesunderlieourdecision in Twombly.First,thetenetthatacourt
               m ustacceptastruealloftheallegationscontained in acom plaintisinapplicableto legal
               conclusions.Threadbarerecitalsoftheelem entsofacauseofaction,supportedby m ere
               conclusory statements,do notsuffice...Rule 8m arksanotableand generousdeparture
                                                                  '     .
                                   .
               from thehyper-technlèal,code-pleading regimeofapriorera,butitdoesnotuplock the
               doorsofdiscovery foraplaintiffnrmed with nothingm oreth% conclusions.Second,              ,
               only acomplaintthatstatesaplausibleclaim forreliefsurvivesam otion to dism iss.1é,    ,

.
           '
               at556.D eterm ining w hethera com plaintstates aplausible claim forreliefw ill...be a
               context-specifictaskthatrequiresthereviewingcourttodraw onitsjudicialexperience
               and comm on sense.Butwhere thewell-pleaded factsdonotpermitthe courtto infer
               m orethan themerepossibility ofm isconduct,the complainthasalleged-butithasnot
               ''showlnl''-''
                            thatthepleaderisentitledtorelief''(lqbal,556U.S.at665.)
               Twom bly aizd Iqbalcan be directly applied to theplaintiffs'complaintin this

       Case.                                               '
           /
               First,asto allthe defendants,butespecially asto Spencer,thecom plaint

       containsnothingbutconclusory statements,nakedassertions,labelsCtracist,''

       ççhateful'') andEûithe-defendant-unlawfully harmed-me''accusations.
               Second,the Twom bly and Iqbaldecisions em phasize that
                                                                   f
                                                                     contextand
a



       com m on sense are criticalin evaluating the com plaint'sallegations.The obvious
                                                   /


       contextin this case isthe defendants'participation in classic FirstA m endm ent
                                                                                                             . :..




       activity:m arching,speeches in parks,carrying signs,expressing politicalprota ts,

       etc.Plaintiffs com plain thatthe defendants'activities w ere highly offensive.Such



                                                       7
'



        Case 3:17-cv-00072-NKM-JCH Document 209 Filed 01/30/18 Page 8 of 23 Pageid#: 1075




             aclaim ishighly subjective'
                                       .thedamagedoneby language,eyen heatedlanguage,
             carm otbe m easure orverified.

                   M oreover,beingthatSpencerisapublicfigure,whohasappeared inm ajor
             newspapersand newsmportsand w hose publicstatem entsarew idely available on
    >                                                                                                 .


             the lnternetand socialm edia,one m ustask:W hy are only his actionsand w ords

             related to Charlottesville be singled outfor legalaction? Sipce they are ofa kind of

             hisotherstatem entsand actions,doesnotevety video pressay heproduces,every

             otherprotesthe isinvolved in,inflictsim ilart<em otionaldistress''and ççtraum a''?
         '
             Furtherm ore,                                                         .

                   M ostim portantly,the Suprem e Courthas often noted thatitis precisely                  '

             offensive speech thatrequiresFirstAm endm entprotection,indeed,special

             protection,because itisprecisely controversialstatem entsand actionsthatare

             likelyto elicitcounter-protests(iilawfare,''forekanipl
                                                                  .ç).AstheSupremeCourt
             stated in Snyder v.Phelps:


                   TheFirstAm endmentreiects''aprofotmd nationalcommitmenttè theprinciplethat
                   debateon publicissùesshouldbe uninhibited,robust,andwide-open.''New York Times
                   Co.v.Sullivan,376U.S.254,270(1964).Thatisbecause''speechconcerningpublic
                   affairs ism ore than self-expression;itisthe essence of self-governm ent''Garriso'
                                                                                                    n v.
                   fouisiana,319U.S.64,74-75(1964).Accordingly,''speechonpublicissuesoccupies
                   the highestnm g ofthe llierarchy ofFirstAm endment'values,and isentitled to special
                                                           ,


                   protection.''Connickv.Myers,461U.S.138,145(1983)(intemalquotationmarks
                   omitted).
                   *#*




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        Case 3:17-cv-00072-NKM-JCH Document 209 Filed 01/30/18 Page 9 of 23 Pageid#: 1076




                    Givèn thatW estboro'sspeech wasatapublicplace on am atterofpublicconcern,that
    '               speech is entitledto ''specialprotection''undertheFirstAm endment.Such speech cnnnot
                               .

                    bereskicted simplybecauseitisupsetting orarousespontempt.''lfthereisaV drock
                    principletmderlying theFirstAm endm ent,itisthatthegovernmentmay notprohibitthe
                    expression ofan ideasimply because society findstheideaitselfoffensiveor
                    disagreeable.''Texas v.Johnson,491 U.S.397,414(1989).lndeed,''  the point of al1
'                   speechprotection ...istoshieldjustthosechoicesofcontentthatinsomeone'seyesare
                    misguided,orevenhurtful.''Hurley v.Irish-American Gay,Lesbian andBisexualGroup
                    ofBoston,Inc.,515U.S.557,574 (1995).                               '
                    ThejuryherewasinstructedthatitcouldholdW estboroliableforintentionalinfliction of
                    emotionaldistressbased on afinding thatW estboro'spicketingwas''putrageous.''
                    ''Outrageousness,''however,isahighly malleable standardwith ''an inherent
                    subjectivenessaboutitwhich wouldallow ajurytoimposeliabilityonthebasijofthe
                    jtlrors'tastesorviews,orperhapsonthebasisofthek dislikeofaparticularexpression.'' '
                    Hustler,485U.S.,at55(internalquotationmarksomitteé).Inacasesuchasthis,ajury
                    is''lmlikelytobeneutralwithrespecttoihe.contentofEthejspeech,''posing ''àreal
                    dangerofbecominganinstnzmentfortv suppressionof...'
                                                                      vehement,caustic,and .
                    sometimesunpleasangtl'''expression.BoseCorp.,466U.S.,at510(quotingNew York
    '               Times,376U.S.,at270).Suchariskistmacceptable;''inpublicdebate(weqmust
                    tolerateinsulting,and even outrageous,speech in ordçrtoprovideadequate 'breathing
                    space'tothe :freedomsprotected by theFirstAm endment''Boosv.Barry 485U .S.312,
                    322(1988)(someintemalquotationmarksomitted).W hatW estborosaid,inthewhole
                    contextofhow and where itchoseto say it,isentitled to ''specialprotection''underthe
                    FirstAmendment,andthatprotectioncannotbeovercomeby ajuryfindingthatthe
                    picketing wasoukageous.


                    Plaintiffs'affrontto FirstA m endm entprinciples isallthe m ore egregious

           given thatthey seek notonly dam ages m ostlikely substantialdam ages- but
                                                                                                               '
                .
           dtliqnlunctivereliefenjoiningDefendantsfrom fut-ureviolationjofrights

           guaranteedby stateandfederallaw,''thatis,an injunctionthatwillintimidate
    '                                            7                                                         .
           defendants from everagain stepplng outside the narrow confines ofpolitical

           odhodoxy.

                    Third,astheCourtstatedinIqbal,''lwjhereacomplaintpleadsfactsthatare


                                                          9                     i
                                                                                z
Case 3:17-cv-00072-NKM-JCH Document 209 Filed 01/30/18 Page 10 of 23 Pageid#: 1077




    çm erely consistentwith'a defendant'sliability,itçstopsshortoftheline between

   possibility andplausibility ofççentitlem enttùrelief.''''Even assuming (contraryto
    fact)thatthedefendants'conductasallegedinthecomplaintcould somehow be

   viewedasactionable,thatconductisalsomanifestly subjectto beingviewedas
    activity protected by the Firstand Second Am endm ents.

          A ccordingly,the alleged conductSsstops shortofthe line betw een possibility

    and plausibility''thatitm ustreach under Tw om bly and Iqbal.The facts and

    holding in Twombly areinstructive:there,where the alleged Sherm an A ct

    conspiracy could be viewed asactionablebutalso asnonactionable,the m otion to

    dism iss w asgranted.

          Fourth,theCourtin Twombly rejectedtheijustletthecasegoto discovery
    andsummaryjudgment'''rationalethattheplaintiffswillundoubtedly invokein
    this case.The Courtstated':


          Itiànoanswertosaythataclaim justshy ofaplausibleentitlementtoreliefan,'if
          groundless,be weeded outearly in thediscovery process.through carefulcase
          management...giventhecommonlamentthatthesuccessofjudicialsupervision in
          checking discovery abusehasbeen onthemodestside.See,e.g.,Easterbrook,Discovely
          asAbuse,69B.U.L.Rev.635,638(1989)(Judgéscan dolittleaboutimpositiopal
          discovery whenpartiescontrolthelegalclaim stobepresentèd and conductthediscovery
          themselves).Anditisself-evidentthattheproblem ofdiscoveryabusecannotbesolved
          bycarefulscrutinyofevidenceatthesummaryjudgmentstage,muchlesslucid
          instructionstojuries;thethrèatofdiscoveryexpensewillpushcost-consciousdefendants
          to settleeven anem ic casesbeforereaching thoseproceedings.Probably,then,itisonly
          by taking care to-require auegations thatreach the levelsuggesting eonspiracy thatw e
          can hopeto avoidthepotèntially enormousexpenseofdiscovery in caseswith no
          reasonablyfoundedhopethatthe(discovery)processwillrevealrelevantevidenceto

                                                10
    Case 3:17-cv-00072-NKM-JCH Document 209 Filed 01/30/18 Page 11 of 23 Pageid#: 1078




              supporta61claim .' '

              Theplaintiffsin thiscase have enormousfesourcesattheirdisposal.Several

        majorlaw firms,likely working probono,with piobably dozensofattorneysand
        deep pocketsfordepositionsand otherdiscove/ expenses,are lined up to

        representthem.spencer,bycontrastà'assearchedforlegalhelp,andhasnotbeen
.                                                       .
                                                                            .    ,
                                                                                 .



        able to find a law yer licensed in V irginia to take hiscase,despite the supposed but

        apparently illusory ethicalobligation law yers have to representunpopular clients

        and to assure atleasta sem blance ofa fairtrial.M assive,expensive,draw n out,

        and invasive discovery willin itselfbe ahugein theorem victory fortheplaintiffs,

        and probably the only realistic victory they hope to achieve,given the indigence of

        m ostofthedefendants.


        2.Language and EmotionalInjury

              N ow here in the com plaintisR ichard Spencer accused ofdirectly intlid ing

        han'non anyone(e.g.,assaulting aPlaintiffùrdirectly callingforanotherto assault

        aPlaintifg.Thecomplain includesm any conclusory statementsregardinghow
        .




        Spencerdesired harm to be inflicted,oçplanned on harm being inflictrd.Butno

        plausible evidence is offered.

              M ostoftheclaimsofdamage- andallthosedirectlyrelaied to Spencer-
        areemotionalinnature:iiemotionaliizjtuy''(j12,p.5),tiem otionaldistressand

                                                 11
               1                                            ,           .
            Case 3:17-cv-00072-NKM-JCH Document 209 Filed 01/30/18 Page 12 of 23 Pageid#: 1079




                shock''(j15,p.6),diemotiontraumà''(j18p.7),etc.ClaimsthatPlaintiffssuffered
                9om içdiftk ulty sleeping''and ççchestpain''(j11,p.4)aretheonlyborderline
                physicalailm entsthatcould be plausibly associated w ith Spencer.

                      Asdiscussed above,the Suprem ehasbeen clearin itsspecialprotection of

                controversialspeech- and this includesprotection ofiGlaw fare,''thatis,suits

                designed to suppress speech or Gnancially dam age controversialfigtlres.
                                 .                                      '                               ,


                      lnspecting thePlaintiffsclaim sin detailrevealsam odusoperandikThey
    .
                quotecontroversialand contentiousstatementspublishedby Spencer;they inject
                sinisterm otivations;they then conclude thathe is som ehow responsible for

                violence thattook place atCharlottesville by otherparties.

                      A ccording to the Plaintiffs,


                      Spencerorganizesllisfollow ersto actin furtherance ofhisideology,calling for an
                      Eûetlmk cleansing.''(j21,pp.8-9)
                      Spencerhasneverdem anded tEetlmic cleansing,''thatis,directassault,by

                governm ents,individuals,orgroups,in orderto forcea m inority population from a

                tenitory.He hasneverdonethisatCharlottesville orany othervenue.He did,

                how ever,discussthiscontroversialsubject,ata2013 conference,i
                                     .                                      n aspeech
                                                                                   '
        .
.




                entitleddsFacingtheFutureAsA M inority.''(Obviously,hislecturewas
                com pletely unrelated to the Charlottesville event,w hich occurred som e fouryears

                later.)Inthisspeech,Spencerdelvedinto thehistoricalcontextoftheFirstW orld

                                                            12
                      Case 3:17-cv-00072-NKM-JCH Document 209 Filed 01/30/18 Page 13 of 23 Pageid#: 1080




                          W arand itsaftermath:                                                                            '


                                (Lliberalshaveahistoryofadoptingtlnationaldetermination''and evenEtetlmo-
                                nationalism''astheircause.ln 1919,followingtheGreatW ar,world'sstatesm an metin
            ;''
                                Paristo.forlack ofabettertermsre-m ap
                                          ''                   ''   *.
                                                                     .
                                                                       theworld afterthedissolution ofthedefeated
                                                                                                             ,

                                empires.New counttieswereinvented(theKingdom ofCroats,Serbs,Slovenes),old
    '
                                oneswerereborn(Poland),andethnicitiesgottheirdayintheSun
,
        '                       (Czechoslovalda).RelatedtothisprocesswastheBalfotlrDeclarationandBritish
                                m andate fora hom eland forthe Jew sin Palestine.N ationalists ofm any differentstripe
                                had captured theheartsandm indsofpoliticalactors.                                      .
                  .             Today,in thepublicimagination,ççetbnic-cleansing''hasbeen associated with civilwar
                                andmassmurder(tmderstandably so).Butthisneednotbethecase.In 1919,wehavea
                                realexnmpleofsuccessfulethnicredistribution--doneby fiat,weshould rem ember,but
                                done peacefully.                                           .

                                Such languagedoesnoteven approach acalltoviolence,anb ispatently

                          protected by theFirstAm endm entofthe Constitution.

                                Furthermore,Spencer'slanguageregarding dem ographicsand hisreasons

                          foractivism havebeenconsistèntlydefensiveinnatgre,asrevealedin the
        '
                          Plaintiffs's ow n choice ofquotations'
                                                               .         .


                                Atalunch beforetheevent,Spencer...explained:EûW hatbringsustogetheristhatwe
                                arewhite,weareapeople.W ewillnotbereplaced''(j52,p.20).
                                The Plantiffscite as evidence of Spencer'sm otivation tp inflictharm an

                          essay Spencerw rote on the evé ofthe rally,entitled tt-l-he Charlottesville

                          Statem ent-''

                                GG
                                 Tudeo-clu'istian values''m ightbe aquaintpoliticalslogan,butitisadistortion ofthe
                                 -


                                historicalandmetaphysicalreality ofbothJewsandEuropeans.''(...)
                                N ationsm ustsecm e theirexistence and uniquenessand prom ote their ow n developm ent


                                                                         13
'



        Case 3:17-cv-00072-NKM-JCH Document 209 Filed 01/30/18 Page 14 of 23 Pageid#: 1081




                  and flotzrishing....Racially orethnically defined statesare legitimateandnecessary.''
                  (j85,p.29)
                  The plaintiffsm ightvery w elldisagree w ith the argtlm entin this citation;

            they m ighteven be offended by itoritm ightm akethem angry orsad.Butsuch

            em otions can form the basis ofcrim inalor civillaw suit.

                  The Plaintiffs'm odus operandicontinues in theirdiscussion ofSpencer's
    t

            activity on socialm edia.


                  Spenceractively prom oted theUnitetheRight''rally''on Saturday tohisnumerous
                  followerson socialmediaand encolzraged andincited intimidation and violencebased
                  racial,religious,andethnicanimosity.tjzl,p.9)
    '             A s an exam ple ofiçincitem entofintim idation and violence,''the Plaintiffs

            state the follow ing:


                  Spencertw eeted a piùture ofCom m onw ealth Restaurant,w ltich had a sign in the w indow
                  rèading:tçlfequality& diversityaren'tforyouthenneither.arewe.''(j141,48-49)
                  The Plaintiffs'are apparently equating the sharing ofinform ation w ith an

            instigation ofviolence.Thisisan insinuation lacksgrounding forthe                                '

            Comm onwealth Restaurantwasneverunlgwfully attacked.According to the

            Plaintiffs ow n reports,the restaurantreceived threatening letters,thatis,speech

            thatis clearly protected by the FirstA m endm ent.lfone w ere to acceptthe prem ise

            that Spencer'sretw eeting ofan im age offlyeron restaurantw as a ççcallto action,it

            is speech thatresem blespublic declarationsthatare partofa vibrantm arketplace

            ,                                                                     t




                                                         14
Case 3:17-cv-00072-NKM-JCH Document 209 Filed 01/30/18 Page 15 of 23 Pageid#: 1082




    ofideas:e.g.,:&Ca1lyourCongressm an and tellhim whatyou Shink abouttlzisnew

    tax billl''oritcancelyourN etflix subscriptionl''

          Furthermore,thePlaintiffsfactualclaim sofhisactivity socialm ediacan

    only be read as exculpatory.


          At12:30PM onAugust12,Spencertweeted,tûM y recomm endation:Disperse.Getoutof
          Charlottesvillecitylimits.Stateofemergencyhasbeencalled.''(j260,p.81)
          Thistw eetoccurred afterthe G ovem orofV irginia issued a State of

    Em ergency and the activists w ere cleared outofEm ancipation Park,the proposed

    siteoftheUniteTheRight;itwasissuedbeforethechaoticviolencetookplacein
    thecenterofCharlottesville.

          ln donclusion,thePlaintiffs- who are represented by 1aw firm sfam ed for
                                             '




    legalsuccess and deep pockets- have,no doubt,scoured the lnternet,social

    m edia,and Spencer'snum erouspublicationsforcallsforviolepce and

    encouragem entto inflictharm ;they found none.


    The Second Am endm ent,W eapons,and Antifa

          Uhfortunately,violencetook place during the eventsofAugust11and 12.

    Slallscuffles,withoutseriousinjtzries,occurred attheTorchlightM archon
    A ugust 11.O n the aftenzoon ofSaturday,A ugust 12,the City ofC harlottesville

    descended into chqos:fisticuffsand battleswith im provised w eaponstook place;a



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    Case 3:17-cv-00072-NKM-JCH Document 209 Filed 01/30/18 Page 16 of 23 Pageid#: 1083
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          wom an,HeatherHyer,died,apparently asaresultofDefendantJam esFields'scar
                                                                                                     '
                                                                            .
      '
          crashing into protestors;andtw o police offcersdied in helicopteraccident.

'               M oreover,firearmswerepresents.W eaponsw erebrandished,by UnitçThe

          R ightand counter-protestors alike,and one shotw asreportedly tired by a U nite

          The(Rightparticipant.(Thatsaid,GovernorTeny M cAuliffe'sclaim that::80       '                     #
                                                                                 .
                 '
                                                                                                c$

          percentofthepeopleherehad lemi-automaticweapons''(j195,p.63)can onlybe
          readaspatently absurd.)
                ln the Comm onwea1th ofV irginia,open carry offlrearm sforcitizensovèr

          theageof18ispermitted(VirginiaStatutes515.2-915.2,j18.2-287.4,and j18.2-

          282).Concealed-can.y licensesaregranted on atçshallissue''basis (Virginia
'

          statutesj18.2-308).
                The Plaintiffs do notclaim thatSpencerofany otherD efendanteither

          carried orbrandished w eaponsillegally orpossessed illegalw eapöns,or

          encotlragedotherstodo so (quitetothecontrary).
                The Plaintiffs'discussion ofthe use ofw eaponry isrem arkably exculpatory

          ofSpencerand the defendants.


                @everoneBringasmuchgearandweapomy asyoucanwithintheconfmesofthelaw.
                1'm serious...
                             '.Thisisn'tjustAnticom.Spencer,organizers,everyonearebehindthis.
                (108,p.36)                                      .                           .
                Spencerfollow ed V irginia and U .S.1aw and encourage othersto do so.H ow



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        Case 3:17-cv-00072-NKM-JCH Document 209 Filed 01/30/18 Page 17 of 23 Pageid#: 1084




            could Spencerbeheld accountable foroutsideactionswhen he explicitly

        1   dem anded thatlaw sbefollow ed?
            7                                                  .



                   M oreover,the presence of fireanns atthe U nite The R ightrally m ustbe

            understood in its propercontext.ln
                                             l
                                               the pastSpencerhasorganized and participated
                                                                       .



            in m any conferences, rallies,and publk
                                                  lc gathering thatw ere com pletely peacefulin

            nature.(lndeed,mostWere(tsuit-and-tie''affairs.)Violenceandthreatsthereof
            have begun to appear- as w ellasresultantefforts atself-protection- atevents

            controversialpoliticalevents associated w ith Spencerdue to the rise ofso-called
    '
            ççA ntifa ''                                                               '

                   The self-described itantifacists''- a loosenetw ork ofdevoted anarchistsand    .

            com m unists- are know n forthei'rall-blacks attire,m asks,and propensity to
                                             .            .




            engage in violence and vandalism .Antifa take itupon them selvesto attack alm ost

            anyone associated with theltightorconservatives;they areespecially dedicated to

            attacksorsilencing supportersofDonald Trump asFellastheAlt-m ght,a

            m ovem ènt1ed by Spencer.TheU nite TheRightrally wasthusdestined to attack
.
            the ire ofA ntifa agitators.Since 2016,the FB1and D epartm entofH om eland

            Security have w afned localofficials ofantifa protests,and D H S hasdescribed their

            activitiesasççdom estic terroristviolence.''O n June 12,2017,shortly before the

            United TheRightrally,the State ofN ew Jersey form ally labelled thegroup
            çtdom estic terrorists.''U nite The R ightparticipants could reasbnably expectthe


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Case 3:17-cv-00072-NKM-JCH Document 209 Filed 01/30/18 Page 18 of 23 Pageid#: 1085




    presenceofAntifaand thuscould bereasonably be expected to prepareto protect

    them selves9om violence.Spencercom m itted no crim e,norw ashe seeking to

    unlaw fully intim ate anyone,by endorsing the recom m endation thatparticipants

    ''lbjringasmuch gearandweapomy asyou canwithinthecônhnesofthe/Jw.''
    (Emphasisaddedq
          M oreover,itistheresponsibility ofpolice forcesofthe City and

    Com m onwea1th to protectlaw -abiding citizensfrom dangerousgroupssuch as

    A ntifa,w hich desire to silence speech and eypression.

          An independentrepörtby thelaw 51711Hunton & W illiam s,which was

    com m issioned by theCity ofCharlottesville,concluded thatthepolice forcew as

    severely derelictin itsduties. JoeH eim ofthe Washington Postsum m arizesthe

    findings:


          TheCharlottesvillePoliceDepartm entwasill-prepared,lacked propertraining and
          devised aflawed plan forresponding to thewlzite suprem acistrally thatrocked the city in
          August,leading to Etdisastrous'results,''including the death ofa cotm terprotesterand
          manyinjtlries,accordingtoanindependentreview commissionedbythecity. ..
          (December1,2017)
          H arsh and bold words,asw ellasscuffles,are simply a reality ofpolitical

    protests,w hich are,by theirvery nature,contentiousand controversial.Free

    societies,notonly in the U nited Statesbutaround the w orld,acceptthis as a cost

    offreeassem bly and m aintaining a vibrantpoliticalculture,which are endjin

    them selves.


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Case 3:17-cv-00072-NKM-JCH Document 209 Filed 01/30/18 Page 19 of 23 Pageid#: 1086




   The TorchlightM arch

         ThePlantiffsclaim ,Gçspencerplarm ed and 1ed the violenttorchlightrally at

   hisalmamateronFriday evening(21,p.9).''(Thisisfactuallyuntrue:Spencerwas
   notan organizerofeitherthe August11or 12 events;hewasan invited as speaker

   and participant;butin thism otion fordism issal,facm alclaim sw illnotbe

    disputed.)
          The A ugust 11 procession w asbased on an earliereventthat Spencer co-

    organized on M ay 14,2017 (whichhascometobeknown asCharlottesville 1.0).
    Spencer organized anothertorclzlightrally in Em ancipation Park on O ctober 7

    (Charlottesville3.0).Atboth oftheseevents,noviolence,oreven major
    congontations,occurred.ln Spencer's w ords,ttW e cam e in peace.''

          Regardless,the Plantiff s description on the evening ofA ugust 11 is highly

   m isleading'
              .


          Hundredsofneo-N azisand whitesupremacists,including Kesslerand Spencer,charged
          toward asm allgroup offewerthan 30 people,mostly smdentsand com mllnity m embers,
          including PlaintiffJolm Doeand JaneDoe 1,who hadlocked anusm'otmdthestatueof
          ThomasJefferson.(j164,p.54)
          M uch like Charlottesvilles 1.0 and 3.0,the U nite The Righttorchlight

    procession w as notannounced publicly;indeed,participants w ere told to keep it

    secret,particularly from the m ostviolentand dedicated counter-protestors,the

    antifa.Only a few dozen antifaleam ed abouttheprofession and anived to counter-


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Case 3:17-cv-00072-NKM-JCH Document 209 Filed 01/30/18 Page 20 of 23 Pageid#: 1087




   demonstrate.lftheobjectoftheprocessionweretogenerateviolence,then one
   m ustask:W hy wasitkeptsecret? W hy w asitnotannounced publicly,with special

   invitationsto antifa and othercounter-protestors? One can only logically conclude,

   contrary to thePlantiffsclaim s,thatthe goalofthetorchlightprocession w asto

   hold a torchligh procession thatis,create a striking visualand m ystical

    atm osphere.

          Spencerw asnearthe frontofprocession form ostofthe evening.A sthe

    grouping walked down the stepsofthe Rotundato the statue ofThom asJefferson,

   the designated endpoint,they encountered a sm allantifa/counter-protestor

    grouping atthebase ofthe statue.Theprocession surrounded the statue,and,no

   doubtharsh wordsw ereshared between the UniteTheRightattendeejandthe

    counter-piotestors,and som e scuffles took place.Butagain,the depiction by the

   Plaintiffsistendentiousand m isleading.
                                         .


          Afterthefact,oneofthe studentstweeted:tT hey surrotmded usatthestat'ue/They
          wouldn'tletusouf';DefendantSpencerretweetedthis,addingilFactcheck:trtze.''(j166,
          p.54)
          Butthe antifa wcrc ableto getout.lndeed,shortly afterthe statuew as

    reached and surrounded,the procession concluded,and participants dispersed.A s

    Spencer observed ata press conference on A ugust 14,since the U nite The R ight

    participantsoutnumbered theA ntifa on ascale of10-to-1,iftheparticipantshad

    desired tq engage in a brutalassault,they easily could have done so and inflicted


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    Case 3:17-cv-00072-NKM-JCH Document 209 Filed 01/30/18 Page 21 of 23 Pageid#: 1088




        greatdam age.Thissim ply did nothappen.

              ThePlantiffswrite,


              Defendantsand theirco-conspiratorsclimbedtothetop oftheThom asJefferson statue
              and waved theirtorcheslligh in the air,yelling,ttl-
                                                                lailSpencer!Hailvictoryl''Spencer
              spokebriefly tothecrowd,saying,&&W eown thesestreets!W e occupy thisgrotmdl''He
              toldthecrowdthattheywereçcriskingtheirlives''fortheirfuture.(j175,p.57)
              tio w ning''oritoccupying''an area is hyperbole,a rhetoricalflourish used by

        m any activists.A nd,unquestionably,U nite The R ightattendees w ere taking som e

        risk to bodily harm by attending the gathering.

               The suggestion thatthe defendantsticonspired''to organize the few random

        scuftlesthatoccurred- and to hold them accountableform attersoutsidetheir

        control- is sim ply notsupported by how eventsunfolded and the evidence cited

        by the Plaintiffs.


        Conclusion

               The com plaintin thiscase isa spurious,albeitwellsnanced,actoflaw fare

        that should sham e any attorney w ho has a genuine respectforprinciples offree

        speech and assem bly.Its aim is to intim i
                                                 1
                                                   date and financially
                                                                      -
                                                                        harm the defendants,        .




        and its authors care little ifthey dam age the FirstA m endm entin the process.The

        complaintshould bedism issed im m ediately asto Spencerand a11otherdefendants.
'
              Spenceradopts and incorporates the m otions to dism iss and supporting



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Case 3:17-cv-00072-NKM-JCH Document 209 Filed 01/30/18 Page 22 of 23 Pageid#: 1089




    m em oranda filed by defendantsLeagueofthe South,M ichaelPeinovich,and

    M atthew Parrott.




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         R espectfully subm itted,

         R ichard Spencer

         Pro Se




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